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         Of Attorneys for Defendants



                                   UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON

                                        PORTLAND DIVISION

      NABIL KHLAFA,                                                          Case No. 3:23-cv-01013

                     Plaintiff,                                    Multnomah County Circuit Court
                                                                            Case No. 23CV26019
             v.
                                                                  DEFENDANTS’ NOTICE OF
      OREGON HEALTH AND SCIENCE                              OF REMOVAL OF CIVIL ACTION
      UNIVERSITY, DANNY JACOBS,
      DARRYL WALKER, CATHRYN                                              JURY TRIAL DEMAND
      DAMMEL, ILONA COX, SALLYDAY
      EISELE,

                     Defendants.


      TO THE CLERK OF COURT:

             PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1441 and 1446, Defendants’

      Oregon Health and Science University, Danny Jacobs, Darryl Walker, Cathryn Dammel, Ilona

      Cox, and Sallyday Eisele (“Defendants”) hereby remove to this Court the case now pending in

      Multnomah County Circuit Court as Nabil Khlafa v. Oregon Health and Science University,

      Danny Jacobs, Darryl Walker, Cathryn Dammel, Ilona Cox, and Sallyday Eisele, Case No.

      23CV26019. As grounds for removal, Defendants state as follows:


Page 1 -   DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL                              HART WAGNER LLP
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                                    NOTICE OF REMOVAL IS TIMELY

              (1)      On June 29, 2023, Plaintiff Nabil Khlafa filed a Complaint in this action now

      pending in Multnomah County Circuit Court as Nabil Khlafa v. Oregon Health and Science

      University, Danny Jacobs, Darryl Walker, Cathryn Dammel, Ilona Cox, and Sallyday Eisele,

      Case No. 23CV26019. The Complaint asserts claims for relief under the Age Discrimination and

      Employment Act, 29 U.S.C. § 626 et seq., 42 U.S.C. § 1981, Title VII of the Civil Rights Act,

      and the Americans with Disabilities Act, as well as claims under Oregon law. Pursuant to 28

      U.S.C. § 1446(a), a copy of the Summons and Complaint are attached hereto as Exhibits 1 and

      2.

              (2)      Plaintiff served all Defendants with the Summons and Complaint on July 3, 2023.

      A copy of the Proofs of Service is attached hereto as Exhibit 3.

              (3)      Pursuant to 28 U.S.C. § 1446(a), true and correct copies of all process, pleadings,

      and orders received by Defendants accompany this notice of removal as exhibits. No other

      pleadings or orders have been received by or served by Defendants in the underlying case.

              (4)      Plaintiff’s Complaint is removable pursuant to 28 U.S.C. § 1441(c)(1)(A) because

      it contains claims arising under federal law. This Notice of Removal is filed within 30 days of

      receipt by Defendants of Plaintiff's Complaint, and therefore removal is timely under 28 U.S.C. §

      1446(b)(1).

              (5)      As of the date of the filing of this Notice of Removal, Defendants are represented

      by the undersigned counsel, have been served with the Complaint, and wish to remove this case

      to federal court.

              (6)      No further proceedings have been held in the Circuit Court of Multnomah

      County, Oregon as of the date of this removal.


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                             FEDERAL QUESTION JURISDICTION EXISTS

              (7)      This is a civil action over which this court has original jurisdiction pursuant to

      28 U.S.C. § 1331, which provides the Court with original jurisdiction of all civil actions arising

      under the Constitution, laws, or treaties of the United States.

              (8)      Plaintiff asserts claims under numerous federal statutes, including the ADA, the

      ADEA, 42 U.S.C. § 1981 and Title VII of the Civil Rights Act of 1964.

              (9)      This Court has supplemental jurisdiction over Plaintiff's remaining Oregon state

      law claims pursuant to 28 U.S.C. § 1367(a).

                               REMOVAL TO THIS DISTRICT IS PROPER

              (10)     Pursuant to 28 U.S.C. §§ 1331, 1446, and 1447, removal of the above-captioned

      state court action to this court is appropriate.

              (11)     Pursuant to 28 U.S.C. § 1441(a), removal is made to this Court as the district and

      division embracing the place where the state action is pending.

                                      FILING OF REMOVAL PAPERS

              (12)     Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal of Civil Action

      is being served upon Plaintiff, and a copy will be filed with the clerk of the Circuit Court of the

      State of Oregon for the County of Multnomah.

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             WHEREFORE, Defendants remove this civil action from the Circuit Court of the State of

      Oregon for the County of Multnomah and request that all further proceedings be conducted in

      this Court.

             Respectfully submitted this 11th day of July, 2023.



                                                        HART WAGNER, LLP


                                                 By:    /s/ Karen O’Kasey
                                                        Karen O’Kasey, OSB No. 870696
                                                        kok@hartwagner.com
                                                        Of Attorneys for Defendants




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                                     CERTIFICATE OF SERVICE

           I hereby certify that on the 11th day of July, 2023, I served the foregoing

    DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION on the following party at

    the following address:

           Nabil Khlafa
           5331 S Macadam Ave
           Suite 258-107
           Portland, OR 97239
           Nabilnoble77@gmail.com
              Pro Se Plaintiff

    by electronic means through the Court’s Case Management/Electronic Case File system.

                                                        /s/ Karen O’Kasey
                                                        Karen O’Kasey




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